Case 1:21-md-02989-CMA Document 310 Entered on FLSD Docket 05/18/2021 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to All Actions

                                                ORDER

             In the April 19, 2021 Case Management Order [ECF No. 209], the Court invited attorneys

   involved in the non-federal securities actions to submit applications to be selected as Plaintiffs’

   lead counsel by April 26, 2021. (See id. 2). The Court has received applications for thirteen (13)

   individuals. (See [ECF Nos. 243-1–243-10]). On May 17, 2021, the Court heard from the

   respective candidates. (See [ECF No. 306]). After carefully considering the applicants’ written

   submissions and oral presentations, as well as the guidance provided by the Manual for Complex

   Litigation, and Federal Rule of Civil Procedure 23(g), the Court issues the following Order (1)

   establishing Plaintiffs’ claim and leadership structure; (2) appointing counsel to designated

   leadership roles in this multidistrict litigation (“MDL”); and (3) assigning Plaintiffs’ leadership

   duties.

             Claim structure – four tranches. The Court finds this litigation will proceed most

   efficiently with four groups, or “tranches,” of claims. The Court designates the following tranches:

   (1) antitrust claims against Defendants (the “Antitrust Tranche”); (2) state-law claims against the

   Robinhood entities and other Robinhood-related Defendants (the “Robinhood Tranche”); (3) state-

   law claims against the other broker-dealer Defendants and other related Defendants (the “Other
Case 1:21-md-02989-CMA Document 310 Entered on FLSD Docket 05/18/2021 Page 2 of 7

                                                    CASE NO. 21-2989-MDL-ALTONAGA/Torres


   Broker Tranche”); and (4) federal security law claims. This Order does not address the federal

   security law claims.

            Leadership structure – Lead Counsel, Liaison Counsel, and Steering Committee.

            Lead Counsel. The Court appoints four Lead Counsel: two for the Antitrust Tranche; one

   for the Robinhood Tranche; and one for the Other Broker Tranche. Lead Counsel have the duties

   outlined in the Manual for Complex Litigation section 10.221, which include formulating (in

   consultation with other counsel and the Steering Committee) and presenting positions on

   substantive and procedural issues during the litigation.

            Liaison Counsel. The Court appoints one Plaintiffs’ Liaison Counsel. Liaison Counsel is

   charged with responsibility for administrative matters, including facilitating communications with

   the Court and counsel in the MDL. Liaison Counsel will assist all counsel in complying with the

   rules and procedures of the Court.

            Steering Committee. To further promote efficient management of the MDL and pursuant

   to the guidance set forth in the Manual for Complex Litigation sections 10.221, 40.22, the Court

   establishes a five-member Steering Committee for the Antitrust Tranche, Robinhood Tranche, and

   Other Broker Tranche. The Steering Committee has the duties outlined in the Manual for Complex

   Litigation section 10.221. The Steering Committee shall ensure that all tranche members’ interests

   and positions are represented in decision making. It will be chaired by a Steering Committee

   Chair.

            Appointments.

            Lead Counsel. The Court appoints the following attorneys as Plaintiffs’ Lead Counsel:

            Antitrust Tranche:           Joseph R. Saveri
                                         Joseph Saveri Law Firm, LLP
                                         601 California Street, Suite 1000
                                         San Francisco, California 94108

                                                    2
Case 1:21-md-02989-CMA Document 310 Entered on FLSD Docket 05/18/2021 Page 3 of 7

                                                 CASE NO. 21-2989-MDL-ALTONAGA/Torres



                                      Frank R. Schirripa
                                      Hach Rose Schirripa & Cheverie LLP
                                      112 Madison Avenue, 10th Floor
                                      New York, New York 10016

         Robinhood Tranche:           Natalia M. Salas
                                      The Ferraro Law Firm, P.A.
                                      600 Brickell Avenue, Suite 3800
                                      Miami, Florida 33131

         Other Broker Tranche:        Peter Safirstein
                                      Safirstein Metcalf LLP
                                      1345 Avenue of the Americas, 2nd Floor
                                      New York, New York 10105

         Liaison Counsel. The following attorney serves as Plaintiffs’ Liaison Counsel:

                                      Rachel Furst
                                      Grossman Roth Yaffa Cohen P.A.
                                      2525 Ponce de Leon Blvd., Suite 1150
                                      Coral Gables, Florida 33134.

         Steering Committee.     The Court appoints the following attorneys to the Steering

   Committee:

         Committee Chair:             Roy T. Willey, IV
                                      Anastopoulo Law Firm, LLC
                                      32 Ann Street
                                      Charleston, South Carolina 29403

         Committee Members:           Gabriel A. Assaad
                                      McDonald Worley, PC 1770
                                      St. James St., Suite 100
                                      Houston, Texas 77056

                                      Jeffrey A. Klafter
                                      Klafter Lesser LLP
                                      2 International Drive, Suite 350
                                      Rye Brook, New York 10573

                                      Dennis S. Ellis
                                      Browne George Ross O’Brien Annaguey & Ellis LLP
                                      2121 Avenue of the Stars, Suite 2800
                                      Los Angeles, California 90067


                                                 3
Case 1:21-md-02989-CMA Document 310 Entered on FLSD Docket 05/18/2021 Page 4 of 7

                                                    CASE NO. 21-2989-MDL-ALTONAGA/Torres


                                         Maurice D. Pessah
                                         Pessah Law Group, PC
                                         661 N Harper Avenue, Suite 208
                                         West Hollywood, California 90048

          Personal nature of appointments. All appointments of specific lawyers by this Order are

   personal in nature and may not be changed without Court order. Each appointee must assume

   personal responsibility for the performance of his or her responsibilities. No other attorneys,

   including members of an appointee’s law firm, may substitute for the appointee in the fulfillment

   of his or her exclusive duties. The Court reserves the discretion to replace appointees, on their

   own requests, on request of Plaintiffs’ Steering Committee, or on its own motion, if and as

   circumstances warrant. Notwithstanding the personal nature of appointments, appointee attorneys

   may utilize the services of a member or associate lawyer of their law firms or law partnerships (or

   appropriate clerical personnel) to assist them in fulfilling their obligations under this Order when

   doing so results in representational efficiencies and/or expense savings.

          Leadership authority. The specific duties to be undertaken by Lead Counsel, the Steering

   Committee members, and Liaison Counsel are as follows:

          Lead Counsel. Lead Counsel will be responsible for coordinating pretrial proceedings.

   Lead Counsel will have the following responsibilities:

          1. perform all responsibilities designated by the Court;

          2. determine (after consultation with members of Plaintiffs’ Steering Committee and other

              counsel of record as may be appropriate) and present (in briefs, oral argument, or such

              other fashion as may be appropriate, personally or by a designee) to the Court and

              opposing parties the position of Plaintiffs on all matters arising during pretrial

              proceedings;




                                                    4
Case 1:21-md-02989-CMA Document 310 Entered on FLSD Docket 05/18/2021 Page 5 of 7

                                                   CASE NO. 21-2989-MDL-ALTONAGA/Torres


         3. consistent with the requirements of Federal Rules of Civil Procedure 26(b)(1), 26(2),

            and 26(g), coordinate the initiation and conduct of discovery on behalf of Plaintiffs,

            including the preparation of joint interrogatories and requests for production of

            documents, and the examination of witnesses in depositions;

         4. coordinate settlement discussions or other dispute resolution efforts on behalf of

            Plaintiffs, but not enter binding agreements except to the extent expressly authorized;

         5. delegate specific tasks to other counsel of record in a manner that ensures pretrial

            preparation is conducted effectively, efficiently, and economically; scheduling

            deadlines are met; and unnecessary expenditures of time and expense are avoided;

         6. encourage full cooperation and efficiency among all Plaintiffs’ counsel;

         7. convene meetings of the Steering Committee as necessary for the purpose of proposing

            joint action and discussing and resolving matters of common concern;

         8. enter stipulations with opposing counsel necessary for the conduct of the litigation;

         9. prepare and distribute periodic status reports to the parties;

         10. maintain adequate time and disbursement records covering the service of designated

            counsel and establish guidelines as to the keeping of time records and expenses;

         11. brief and argue motions for Plaintiffs and file opposing briefs and argue motions and

            proceedings initiated by other parties (except as to matters specifically directed to

            individual Plaintiffs) or designate the appropriate counsel to carry out these tasks; and

         12. perform such other duties as may be incidental to the proper coordination of Plaintiffs’

            pretrial activities.

         Liaison Counsel.    Liaison Counsel shall have the following responsibilities:

         1. perform all responsibilities as designated by the Court;



                                                   5
Case 1:21-md-02989-CMA Document 310 Entered on FLSD Docket 05/18/2021 Page 6 of 7

                                                    CASE NO. 21-2989-MDL-ALTONAGA/Torres


          2. act as the primary contact between the Court and Plaintiffs’ counsel;

          3. maintain an up-to-date, comprehensive service list of Plaintiffs and promptly advise

              the Court and Defendants of changes to Plaintiffs’ service list;

          4. receive and distribute to Plaintiffs’ counsel, as appropriate, discovery, pleadings,

              correspondence, and other documents from Defendants that are not electronically filed

              with the Court;

          5. establish and maintain a document depository;

          6. assist Lead Counsel and the Steering Committee in resolving scheduling conflicts

              among the parties and coordinating activities, discovery, meetings, and hearings;

          7. maintain a copy of this Order and serve the same on the parties and/or their attorneys

              in any actions later instituted in, removed to, or transferred to, this MDL; and

          8. perform such other functions necessary to effectuate these responsibilities or as may be

              expressly authorized by further orders of the Court.

          Steering Committee. The members of Plaintiffs’ Steering Committee shall from time to

   time consult with Plaintiffs’ Lead and Liaison Counsel on formulating overall case strategy, on

   developing a litigation plan, in coordinating Plaintiffs’ pretrial activities, in fulfilling the

   obligations set forth in this Order, and otherwise in planning for trial. The Steering Committee

   Chair will monitor the work performed by the Steering Committee and will report to Plaintiffs’

   Lead Counsel. The Court may amend or expand the Steering Committee upon request from the

   Steering Committee, Plaintiffs’ Lead Counsel or on the Court’s own motion, if and as

   circumstances warrant.

          Communications with the Court. All communications with the Court must be through

   Lead Counsel or Liaison Counsel. If circumstances require direct communication with the Court



                                                    6
Case 1:21-md-02989-CMA Document 310 Entered on FLSD Docket 05/18/2021 Page 7 of 7

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


   by other counsel of record, copies of any such communications must simultaneously be served on

   all Lead Counsel and Liaison Counsel.

          Conclusion. To better manage the orderly progress of the case, it is ORDERED that Lead

   Counsel and the Plaintiffs’ Steering Committee, in conjunction with counsel for Defendants in the

   non-federal securities actions, shall confer and file a joint status report proposing procedural and/or

   other next steps the Court should take to ensure the just and efficient disposition of the non-federal

   securities cases in this MDL. The status report shall be filed by June 2, 2021 and shall indicate

   whether a scheduling conference is requested.

          DONE AND ORDERED in Miami, Florida, this 18th day of May, 2021.



                                                             _________________________________
                                                             CECILIA M. ALTONAGA
                                                             UNITED STATES DISTRICT JUDGE

   cc:    counsel of record; pro se Plaintiffs




                                                     7
